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      5
          Attorney for: Eric Newborn
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      8
      9                      IN THE UNITED STATES DISTRICT COURT FOR THE
     10
                                     EASTERN DISTRICT OF CALIFORNIA
     11
     12
     13   UNITED STATES OF AMERICA, )                   No. 2:03-CR-0371 MCE
                                     )
     14                   Plaintiff, )                  STIPULATION AND ORDER
                                     )
     15
                    v.               )
     16                              )
          ERIC NEWBORN,              )
     17                              )
     18                   Defendant. )
                                     )
     19                              )
     20
                  The defendant, Eric Newborn, through his undersigned counsel, and the United States,
     21
          through its undersigned counsel, agree and stipulate that the change of plea currently scheduled
     22
     23   for Thursday, October 16, 2008 at 9:00 a.m., should be vacated and continued until Thursday,

     24   November 6, 2008 at 9:00 a.m.
     25           Continuance is necessary for further plea negotiations.
     26
                  Therefore, additional time is requested to further evaluate the case for settlement and meet
     27
          with the client.
     28



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                 Therefore, the parties agree and stipulate that time should be excluded under the Speedy
      1
      2   Trial Act pursuant to Local Code T4 for investigation and plea negotiations, up to and including

      3   November 6, 2008.
      4
                 I William E. Bonham, the filing party, have received authorization from AUSA William
      5
          Wong to sign and submit this stipulation and proposed order on their behalf and that defense
      6
      7   counsel has authorization from his respective client.

      8                  Accordingly, the defendant and the United States agree and stipulate that the
      9
          change of plea should be continued until 9:00 a.m. on Thursday, November 6, 2008.
     10
     11
     12   Dated: October 14, 2008

     13                                                               McGREGOR W. SCOTT
     14                                                               United States Attorney

     15                                                                       /s/ William E. Bonham for
                                                                      By:
     16                                                                       WILLIAM WONG
     17                                                                       Assistant U.S. Attorney

     18
     19
     20   Dated: October 14, 2008
                                                                      ERIC NEWBORN
     21                                                                     Defendant
     22
                                                                      By:/s/ William E. Bonham for
     23                                                                      WILLIAM E. BONHAM
                                                                             Counsel for Defendant
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                                                            ORDER
      1
      2          IT IS SO ORDERED. This matter is continued until 9:00 a.m. on Thursday, November

      3   6, 2008 for a change of plea.
      4
                 I find that the continuance is necessary to allow defense counsel sufficient time to evaluate
      5
          case and for further plea negotiations. I further find that the needs of counsel to evaluate the
      6
      7   evidence and advise their clients exceed the needs of the public for a trial within 70 days, so that

      8   the interests of justice warrant a further exclusion of time. Accordingly, time should be excluded
      9
          under the Speedy Trial Act pursuant to Local Code T4 for counsel to have sufficient time for plea
     10
          negotiations and meeting with client and time for further ongoing negotiations and evaluation of
     11
     12   case, up to and including November 6, 2008.

     13
     14   DATED: October 15, 2008

     15                                              __________________________________
                                                     MORRISON C. ENGLAND, JR
     16                                              UNITED STATES DISTRICT JUDGE
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